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                                                                       June 27, 2023

     Via ECF

     The Hon. Thomas I. Vanaskie, Special Master
     Stevens & Lee, P.C.
     1500 Market Street, East Tower, 18th Floor
     Philadelphia, PA 19103

                Re: In re Valsartan, Losartan, & Irbesartan Prods. Liab. Litig.,
                       No. 1:19-md-2875 (D.N.J.)

     Dear Special Master Vanaskie:

     Pursuant to Special Master Order No. 79 (ECF No. 2411), Plaintiffs respectfully submit this letter
     in opposition to Wholesalers’ June 13, 2023 letter brief (ECF No. 2426) seeking additional
     discovery from named TPP Plaintiffs MSP and MADA.

     I.         Summary of Plaintiffs’ Opposition to Wholesalers’ Belated Discovery

                 “I’m not going to speak for Judge Vanaskie, but color me skeptical of all
                this, which I think a lot of it is a bunch of nonsense.”

                                                                   -- Judge Kugler, on Wholesalers’ proposed
                                                                       discovery requests to MSP and MADA
                                                                                     (4/26/23 CMC Tr. at 27)

     Nearly five years into this litigation, and over two years after the fact discovery deadline,
     Wholesalers now seek a variety of data and documents from named TPP plaintiffs MSP and
     MADA. The raison d’être for Wholesalers’ belated requests—to probe “the TPPs’ one cause of
     action for UE,” see 6/13/2023 Wholesalers’ Ltr. (ECF No. 2426) at 2—is breathtakingly
     insufficient. The Court should deny Wholesalers’ belated requests as untimely, unduly
     burdensome, overly broad, irrelevant, and disproportional.



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  Wholesalers’ Requests Are Plainly Untimely. This litigation is nearly five years old. Fact
  discovery closed over two years ago. During discovery, MSP and MADA (as well as their three
  at-issue assignors and one non-party claims administrator) responded to a barrage of discovery
  requests. Throughout the entire multi-year discovery period, Wholesalers were active participants
  in all of this discovery. They prepared drafts of discovery to MSP and MADA; they participated
  in the parties’ negotiations about that discovery; they attended the depositions of MSP’s and
  MADA’s corporate designees. Quite literally, Wholesalers were there every step of the way during
  Defendants’ years-long discovery of MSP and MADA.

  Despite this, Wholesalers waited nearly five years into this litigation, and more than two years
  after the already-extended fact discovery deadline, to propound their belated requests.
  Wholesalers offer no explanation for their delay. They merely assert repeatedly they want to probe
  the “only claim against Wholesalers—unjust enrichment.” 6/13/2023 Wholesalers’ Ltr. (ECF No.
  2426) at 1.

  But, here is the thing: unjust enrichment is not MSP’s and MADA’s “only claim” against
  Wholesalers. It never was. The operative Master Economic Loss Complaint alleges unjust
  enrichment, breach of implied warranty, and violation of state consumer protection laws against
  Wholesalers, on behalf of consumers and TPPs. This is consistent with both Judge Kugler’s prior
  motion to dismiss rulings, as well as Your Honor’s ruling on Plaintiffs’ motion for leave to amend
  the master complaints. Furthermore, there are another fourteen claims alleged against Wholesalers
  in the other two Master Complaints. Nor is unjust enrichment a newly added claim; it was among
  the original claims alleged against Wholesalers in every prior iteration of the Economic Loss
  Master Complaint, going back almost four years.

  Fact discovery of all plaintiffs, including MSP and MADA, proceeded for years on all claims,
  including unjust enrichment. Wholesalers, who were active participants in that discovery, had
  ample opportunity to seek information on any claim or defense, unjust enrichment included, during
  the protracted, multi-year fact discovery period. By sitting on their hands for years, they forfeited
  their opportunity to seek sprawling discovery they now belatedly seek.

  The Timing of the Wholesalers’ Belated Requests is Specious. As shown above, the Wholesalers
  never sought the information they now belatedly seek during the multi-year fact discovery period;
  they did not seek it in the nearly two years after the close of fact discovery; they did not even seek
  it after Judge Kugler’s February 8, 2023 opinion and order certifying the various subclasses. It
  was not until CMO No. 32 (ECF No. 2343) issued on April 21, 2023—which ordered Wholesalers
  to produce additional data and documents—that Wholesalers first raised their belated requests.

  What occurred is transparent: Wholesalers sought to gin-up some reciprocal discovery pressure on
  TPP Plaintiffs. But Wholesalers’ desired tit-for-tat rests on a false premise. Unlike Wholesalers,
  Plaintiffs did seek the very same documents and data ordered from Wholesalers by CMO No. 32
  during fact discovery. Nearly three years ago, after exhaustive argument and briefing, Magistrate
  Judge Schneider explicitly denied Plaintiffs’ requests for certain data and custodial discovery
  without prejudice pending class certification. Wholesalers, on the other hand, never broached their
  belated requests earlier, until now. That was Wholesalers’ decision. MSP and MADA should not


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  bear the unfair, disproportionate burden for that decision. This is especially so given that MSP
  and MADA nonetheless agree to produce all of the data and many of the documents Wholesalers
  belatedly seek.

  The Wholesalers’ Requests are Unduly Burdensome, Overbroad, not Relevant nor
  Proportionate. MSP and MADA have responded to wave upon wave of discovery for years.
  Nevertheless, in the context of the present dispute before Your Honor, MSP and MADA agreed as
  a compromise to respond to nearly all of Wholesalers’ belated requests for data and have further
  agreed to respond to a number of Wholesalers’ requests for various categories of documents.
  Wholesalers rejected this compromise in its entirely and refused to narrow their requests in any
  way. Wholesalers’ all-or-nothing approach to their belated requests is contrary both to the Federal
  Rules and the longstanding practice in this MDL.

  Given MSP’s and MADA’s agreement to respond to several of Wholesalers’ requests, the only
  remaining dispute (which Wholesalers obfuscate in their June 13 letter) is about a few disputed
  requests for “all documents” about matters irrelevant to any claim or defense, or disproportionate
  to the needs in this case. Wholesalers’ “any and all documents” requests are inconsistent with
  Magistrate Judge Schneider’s and Your Honor’s repeated refusal to countenance such sweeping
  requests (for all parties), even when timely (which here they aren’t). Plaintiffs address each of
  these disputed requests below in detail, but note here that Wholesalers seek to impose a document
  collection burden on MSP and MADA that dwarfs anything that Wholesalers themselves have
  shouldered in this litigation.

  Much of what remains in dispute simply is not relevant to any party’s claims or defenses. MSP’s
  and MADA’s own “profits,” or medical records of their assignors’ insureds, have nothing to do
  with the certified unjust enrichment claim against Wholesalers, which will be the claim to proceed
  to trial if and when a TPP subclass against Wholesalers is scheduled by Judge Kugler for trial (and,
  at this point, no such trial is set). Wholesalers cite no case law suggesting otherwise.

  II.    Wholesalers Rejected Every Single Compromise Offered by MSP and MADA

  Far from being “targeted” to seek only “a small subset of documents,” see 6/13/2023 Wholesalers’
  Ltr. (ECF No. 2426) at 1, 4, Wholesalers’ belated requests span 28 separate requests—two with
  26 sub-parts between them. Notwithstanding this and other objectionable reasons (see infra Parts
  IV-V), MSP and MADA offered to respond to all of Wholesalers’ data requests and several of
  Wholesalers document requests. Wholesalers rejected Plaintiffs’ proposal entirely and ask this
  Court to countenance all 28 of their belated requests as originally drafted.

  Courts reject similarly uncompromising strong-arm discovery tactics. See, e.g., Pippins v. KPMG
  LLP, 279 F.R.D. 245, 251 (S.D.N.Y. 2012) (denying motion for protective order where defendant
  “made a series of ‘take it or leave it’ offers, and sought to have Plaintiffs agree that KPMG only
  had to preserve a smaller sample of the hard drives without giving Plaintiffs the opportunity to
  review the contents of any hard drive(s) first”); SEC v. Collins & Aikman Corp., 256 F.R.D. 403,
  414-15 (S.D.N.Y. 2009) (disapproving of SEC’s unilateral limitation on search terms and finding
  that the SEC’s “blanket refusal to negotiate a workable search protocol responsive to these requests
  is patently unreasonable”). So, too, should this Court not countenance Wholesalers’ attempt to


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  force through the entirety of their belated (and otherwise objectionable) requests. Nor should the
  Court entertain a “split the baby” approach, which simply would reward Wholesalers for refusing
  to narrow their 28 belated, otherwise objectionable requests.

  III.       Plaintiffs MSP and MADA Already Answered Many Rounds of Discovery

  MSP and MADA, as well as MSP’s three at-issue assignors and MADA’s non-party claims
  administrator, have already responded to set after set of discovery requests from Defendants,
  including Wholesalers. The specific requests and notices are interspersed infra Part IV in the
  pertinent timeline of events. This bears on the untimeliness and burden of Wholesalers’ belated
  requests.

  IV.        Wholesalers’ Proposed Document Requests Are Untimely

  A “court must limit the frequency or extent of discovery otherwise allowed by these rules or by
  local rule if it determines that . . . (ii) the party seeking discovery has had ample opportunity to
  obtain the information by discovery in the action[.]” Fed. R. Civ. P. 26(b)(2)(C) (emphasis added).
  Courts in this Circuit will disallow untimely discovery, especially when the propounding party did
  not seek the sought information during fact discovery. See, e.g., Bowers v. NCAA, No. 97-2600,
  2008 WL 1757929, at *4 (D.N.J. Feb. 27, 2008) (collecting cases). Indeed, courts in this Circuit
  do not hesitate to disallow discovery that was served within the discovery period but answers
  would not be due until after the close of the discovery period. See, e.g., DelPalazzo v. Horizon
  Group Holdings, LLC, No. 19-5682, 2021 WL 1546229, at *2 (E.D. Pa. Apr. 20, 2021)
  (disallowing discovery served on the last day of fact discovery); Alexiou v. Moshos, No. 08-5491,
  2009 WL 2913960, at *3 (E.D. Sept. 9, 2009) (refusing to extend discovery deadline to allow
  defendant to serve additional requests where defendant never timely served requests, nor
  previously warned the court additional discovery might be needed).

  Here, there is no question that Wholesalers did not serve their requests until many years after the
  fact discovery period. In fact, Wholesalers fronted what they called “discovery implications” of
  TPPs’ claims back in 2020 (essentially, an informal list of nascent document requests) that were
  similar to their instant belated requests, but they affirmatively chose not to pursue them during fact
  discovery. See ECF No. 582-2.

  While lengthy, the following condensed chronology of pertinent procedural events in this years-
  long litigation shows that Wholesalers had ample opportunity to seek additional discovery from
  MSP and MADA, but never did so until years later, and only after Judge Kugler ordered
  Wholesalers recently to produce the discrete data and documents that Magistrate Judge Schneider
  previously deferred until after class certification (as opposed to Wholesalers, who not once earlier
  ever sought the discovery they now seek from MSP and MADA):

         •   Prior to Fall 2019 – Parties negotiate the TPP Plaintiff Fact Sheet (“PFS”) to be
             answered by MSP and MADA.

         •   October 16, 2019 – Defense Counsel inform Magistrate Judge Schneider that the
             parties have agreed to all but two issues about the TPP PFS but hope to reach
             agreement soon (see 10/16/2019 CMC Tr. at 6).

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    •   October 28, 2019 – CMO No. 17 entered, approving agreed-upon TPP PFS (see ECF
        No. 283).

    •   January 14, 2020 – Wholesalers email Co-Lead Plaintiffs’ Counsel with a lengthy
        list of the “discovery implications” for TPPs’ claims, as a sort of nascent set of
        informal proposed data and document requests Wholesalers might seek on top of
        MSP’s and MADA’s production obligations under the TPP PFS. ECF No. 582-2.
        Subsequently, Wholesalers never formalize their lengthy list “discovery
        implications” into formal proposed document requests.

    •   March 2, 2020 – MADA answers TPP PFS and begins rolling production of
        documents responsive to TPP PFS’s document demands.

    •   March 3, 2020 – MSP answers TPP PFS and begins rolling production of documents
        responsive to TPP PFS’s document demands.

    •   March 9, 2020 – Parties submit their proposed trial plans. See ECF Nos. 392, 393.
        Defendants’ plan, submitted by all Defendants, does not include any proposed
        deadlines for additional discovery of MSP or MADA (or any other plaintiff, for that
        matter). See ECF No. 393.

    •   September 29, 2020 – Defendants’ CMC agenda letter states they seek to serve
        additional document requests on named TPPs (and consumers), attaching their
        proposed requests to MSP and MADA. See ECF No. 582 at 3. These formalized
        proposed requests track neither the informal list emailed by Wholesalers on January
        14, 2020, nor Wholesalers’ belated requests at issue now. Compare ECF No. 582-2
        with ECF No. 582-4, 582-5.

    •   September 30, 2020 – At the CMC, Magistrate Judge Schneider tells the parties to
        negotiate Defendants’ proposed document requests to MSP and MADA (and
        consumers). See 9/30/2020 CMC Tr. at 28-33.

    •   October 14, 2020 – During the CMC, Magistrate Judge Schneider directs the parties
        to continue to negotiate Defendants’ proposed document requests to MSP and
        MADA (and consumers), and to submit disputes on October 26, 2020. See
        10/14/2020 CMC Tr. at 36-37. Defendants state their new proposed document
        requests “are truly essential to the questions about . . . [plaintiffs’] damages
        calculation,” Id. at 27, and also note that they had provided Plaintiffs with a list on
        January 4, 2020 “identifying just about every one of these documents and letting them
        know, we expected them to be produced.” Id. at 36. Wholesalers do not raise their
        belated requests at issue now.

    •   October 26, 2020 – Defendants’ CMC agenda letter reports “substantial progress in
        reaching agreement on the Rule 34 requests to be served on [MSP and MADA],” and
        asks for until the next CMC to finalize the requests because “Defendants believe an

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           agreement on these requests is possible in the coming days” on their proposed
           requests “for eleven (11) categories of information.” See ECF No. 604 at 5, 10.1
           Defendants’ letter also states they have conferred with Plaintiffs four times already
           on the proposed requests. No mention is made of any of the belated requests
           Wholesalers now seek to propound.

      •    November 17, 2020 – CMO No. 21 entered, attaching agreed-upon document
           requests to MSP and MADA (as well as to consumers). See 11/17/2020 Order (ECF
           No. 633). Each set of requests, including those to MSP and MADA, are signed by
           Wholesaler Liaison Counsel “on behalf of all defendants.” None contain any
           document demand found in Wholesalers’ belated requests at issue now.

      •    November 25, 2020 – CMO No. 22 entered, setting fact discovery deadline of April
           1, 2021 (see ECF No. 640). This deadline was later extended to June 1, 2021 by
           CMO No. 32 (see below).

      •    December 2020 through February 2021 – the parties engage in protracted
           negotiations about discovery deadlines and scheduling issues. Wholesalers do not
           mention the need to serve additional requests on MSP or MADA.

      •    February 2, 2021 – Defendants write the Court requesting a 90-day extension of the
           April 1, 2021 fact discovery deadline set by CMO No. 22. See ECF No. 835. Nothing
           in Defendants’ “requested relief” includes any deadline or extension for Defendants
           to serve additional document requests on MSP and MADA (or any other plaintiff, for
           that matter). Id. at 8-9.

      •    February 11, 2021 – CMO No. 23 entered, amending the fact discovery deadline to
           June 1, 2021 (see ECF No. 863).

      •    March 24, 2021 – Defendants subpoena Anthem, MADA’s claims administrator, for
           documents.

      •    April 1, 2021 – Original fact discovery deadline per CMO No. 22 (see ECF No. 640).

      •    April 12, 2021 – Plaintiffs file motion for leave to amend the Master Complaints to
           conform to Judge Kugler’s motion to dismiss rulings. See ECF No. 1148. The
           proposed Third Amended Economic Loss Master Complaint includes the following
           claims against Wholesalers (consistent with Judge Kugler’s rulings): breach of
           implied warranty, violation of state consumer protection laws, and unjust enrichment.
           The other two proposed Master Complaints include another 14 claims against

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   Defendants specifically stated at the time, nearly three years ago, that their proposed document requests at this time
  would let them “understand how, under what circumstances, and to what extent, MADA and MSP’s assignor’s covered
  and/or paid for [VCDs] and other blood pressure medications.” See ECF No. 604 at 6. “Collectively, the categories
  of documents Defendants seek will allow them to determine the rights created by the plans themselves as well as the
  different machinations of [MSP’s and MADA’s] coverage of VCDs (or, in the case of MSP, its assignees’ coverages
  of VCDs) and the alternative drugs each would have had to purchase if no VCD were available.” Id. at 7.

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             Wholesalers. Wholesalers never assert they need additional discovery regarding any
             of these claims.

         •   April 29, 2021 – Defendants depose MSP’s two corporate representatives.
             Wholesalers attend.

         •   May 12, 2021 – Defendants send letter to MSP requesting additional documents and
             data purportedly identified during the depositions of MSP’s two corporate
             representatives. None of Wholesalers’ belated requests were among the purported
             deficiencies.

         •   May 24, 2021 – Manufacturer Defendants propound “global interrogatories and
             requests for production” to Plaintiffs. Notably, Wholesalers did not join in requests,
             nor issue their own.

         •   May 27, 2021 – Defendants file responses in opposition to Plaintiffs’ motion for
             leave to amend the Master Complaints to conform to Judge Kugler’s motion to
             dismiss rulings. See ECF Nos. 1277, 1280, 1281.

         •   May 28, 2021 – Defendants depose MADA’s corporate representative. Wholesalers
             attend. Defendants make additional document requests to MADA on the record. None
             of Wholesalers’ belated new requests were among the additional documents
             requested.

         •   June 1, 2021 – Amended fact discovery deadline per CMO No. 23 (see ECF No.
             863)

         •   June 9, 2021 – Special Master Order No. 23 entered, disallowing Defendants’ global
             document requests and interrogatories as untimely. See ECF No. 1304.

         •   July 22, 2021 – Defendants depose MSP assignor SummaCare’s corporate
             representative. Wholesalers did not even bother to attend.

         •   July 30, 2021 – Defendants depose MSP assignors Emblem’s and ConnectiCare’s
             corporate representative. Wholesalers attend.

         •   August 9, 2021 – Judge Kugler enters order denying Defendants’ motion to modify
             Special Master Order No. 23 (ECF No. 1304), which disallowed Defendants’ global
             document requests and interrogatories. See ECF No. 1471.2

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      Specifically, Judge Kugler stated in pertinent part:

         “As for Ds interrogatories and document production requests, plaintiffs assert these should have been
         served in February when the parties, the Special Master, and this Court engaged in considerable back
         and forth to amend the MDL Discovery Schedule. They argue the case management process itself has
         also rooted the parties’ discovery expectations, which are exemplified by the parties’ hammering out



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    •   August 30, 2021 – Defendants request additional documents from MADA following
        the deposition of MADA’s corporate representative. None of Wholesalers’ belated
        new requests were among the additional documents requested.

    •   August 31, 2023 – Defendants continue the deposition of MSP assignor
        SummaCare’s corporate representative. Wholesalers attend.

    •   September 10, 2021 – Defendants served MSP’s assignors Emblem, ConnectiCare,
        and SummaCare with subpoenas to produce documents. The bulk of Wholesalers’
        belated requests were not among the requests in the subpoenas.

    •   October 8, 2021 – Special Master Order No. 46 entered, which largely grants
        Plaintiffs’ leave to amend the Master Complaints, allowing the ~14 different claims
        against Wholesalers to proceed across all three Master Complaints (including the
        economic loss class claims against Wholesalers for breach of implied warranty,
        violation of state consumer protection laws, and unjust enrichment). See ECF No.
        1615. Wholesalers do not request any additional discovery on any of these claims,
        which were all asserted in the original Master Complaints.

    •   October 21, 2021 – Defendants depose the corporate representative of MADA’s
        claims administrator.

    •   November 10, 2021 – Plaintiffs filed their motion for class certification. See ECF
        No. 1748. The motion seeks to certify, inter alia, economic loss consumers’ and
        TPPs’ unjust enrichment claims against Wholesalers. Wholesalers do not ask for
        additional discovery at this time.

    •   March 31, 2022 – Plaintiffs produce supplemental class damages report for Dr. Rena
        Conti, which again includes opinion on unjust enrichment damages. Wholesalers do
        not ask for additional discovery at this time.




    plaintiffs’ document production requests propounded in December 2019 for several months in early
    2020. This process received regular court oversight and forged the parties’ expectations for the execution
    of document requests. Plaintiffs also argue the surprise springing of defendants’ document production
    requests was done during the last throes of document production in this MDL, is unjustified, done
    without notice or a meet and confer process, and therefore prejudices them.
    …

    The Court has also reviewed the context of this MDL in its entirety to find that document production
    requests this close to the end of discovery emerge as an unthought‐out afterthought. The Court has
    considered the parties’ and the Special Master’s efforts to hammer out and amend discovery schedules,
    not once, but twice, earlier this year as well as the parties’ active engagement throughout this year to
    work through the scheduling of depositions, expert reports and other key discovery. The Court finds the
    defendants could have raised their discovery requests earlier when the parties were conferring
    actively.” 8/9/2021 Order (ECF No. 1471) (emphasis added).

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    •   April 5, 2022 – Order affirming Special Master No. 46 on leave to amend Master
        Complaints entered. See ECF No. 1994. Order also modifies Special Master Order
        No. 46 to allow breach of implied warranty claims to be alleged against all
        Defendants (including Wholesalers) under a broader set of states’ laws. Id.
        Wholesalers do not ask for additional discovery at this time.

    •   April 12, 2022 – Wholesalers (and other Defendants) file oppositions to motion for
        class certification. See ECF No. 2011. Neither in their brief nor in the five months
        in which they had Plaintiffs’ class certification papers in hand did they express any
        need for additional discovery of MSP and MADA (or any other Plaintiff, for that
        matter).

    •   June 2022 – Daubert briefing on parties’ class certification is completed. Neither
        during the class expert depositions, nor the Daubert briefing, nor in the months
        thereafter do Wholesalers ask for additional discovery, including any as to the unjust
        enrichment claims the economic loss consumers and TPPs sought to certify.

    •   July 13, 2022 – Special Master Vanaskie notes during CMC: “Discovery is supposed
        to have been closed except for expert discovery.” 7/13/2022 CMC Tr. at 16.

    •   July 19, 2022 – Defendants serve their purported second sets of document requests
        directed to MSP and MADA. Each set of requests, including those to MSP and
        MADA, are signed by Wholesaler Liaison Counsel “on behalf of all defendants.” See
        Ex. A hereto (7/19/22 Ltr. from C. Trischler to A. Slater, and exhibits thereto). None
        of the proposed requests track Wholesalers’ belated requests now at issue.

    •   September 9, 2022 – Certain Manufacturer Defendants serve document requests on
        MSP, in conjunction with TPP trial as directed by Judge Kugler. Wholesalers do not
        ask for additional discovery at this time.

    •   October 19, 2022 – Certain Manufacturer Defendants move to compel MSP to
        respond to document requests. Wholesalers do not ask for additional discovery at
        this time.

    •   January 24, 2023 – Special Master Order No. 73 entered, directing MSP to produce
        certain data and documents. See ECF No. 2249. Wholesalers do not ask for
        additional discovery at this time.

    •   February 2, 2023 – Plaintiffs produce revised damages report for MSP. Wholesalers
        do not ask for additional discovery at this time.

    •   February 8, 2023 – Judge Kugler issues order certifying various subclasses,
        including the economic loss consumers’ and TPPs’ unjust enrichment claims against
        Wholesalers. See ECF No. 2262. Wholesalers do not ask for additional discovery at
        this time.


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     •   February 22, 2023 – Defendants, including Wholesalers file petitions for permission
         to appeal pursuant to Rule 23(f). See ECF No. 2275-3, 4, 5, 6. Wholesalers do not
         ask either the Court or the Third Circuit for additional discovery at this time.

     •   February 27, 2023 – Defendants, including Wholesalers, move to stay proceedings
         pending their Rule 23(f) petition. See ECF No. 2275. Wholesalers do not ask for
         additional discovery at this time.

     •   March 8, 2023 – During lengthy CMC before Judge Kugler and Special Master
         Vanaskie, Plaintiffs note they would be seeking the additional discrete data and
         custodial discovery from Retailers and Wholesalers that Magistrate Judge Schneider
         had deferred earlier pending class certification. See 3/29/2023 CMC Tr. (Part II) at
         31. Wholesalers do not ask for additional discovery at this time.

     •   April 12, 2023 – Defendants’ trial plan letter indicates that they expect MSP will
         complete its supplemental production ordered by Special Master Order No. 73 in
         January 2023, and that they intend to serve supplemental document requests on
         MADA by May 10, 2023. See ECF No. 2339. Wholesalers do not ask for additional
         discovery at this time. Plaintiffs identify the discrete data and custodial discovery
         they need from Retailers and Wholesalers, which Magistrate Judge Schneider earlier
         denied without prejudice pending class certification. See ECF No. 2338.

     •   April 21, 2023 – CMO No. 32 entered, ordering Wholesalers to produce discrete data
         and custodial discovery, viz., the same items Magistrate Judge Schneider had denied
         without prejudice pending class certification. See ECF No. 2343. CMO No. 32
         makes no mention of any additional discovery Wholesalers might seek from any
         Plaintiff (because they had yet to suggest they might ask for any additional
         discovery).

     •   April 24, 2023 – Wholesalers note in a defense letter to the Court, for the first time,
         that they may seek additional discovery from MSP and MADA “on their unjust
         enrichment claim.” ECF No. 2348 at 5.

     •   April 25, 2023 – The day before the next CMC, and ahead of a previously scheduled
         meet and confer call later this same day, Wholesalers email proposed document
         requests and deposition notices to MSP and MADA. See Ex. B, C, D hereto. Rather
         than discuss the discovery CMO No. 32 ordered Wholesalers to produce, Wholesalers
         write that they “anticipate the first issue for our call today will be plaintiffs’ position
         regarding participation in such discovery,” i.e., the proposed requests and deposition
         notices they just provided for the very first time. Id.

     •   April 26, 2023 – During CMC, Wholesalers note they may seek additional discovery
         from Plaintiffs. See CMC Tr. at 20-27. Judge Kugler repeatedly asked Wholesaler
         Liaison Counsel why MSP’s and MADA’s profits were relevant; ultimately the Court
         noted “I’m not seeing it.” Id. at 22. After Wholesaler Liaison Counsel finished,
         Judge Kugler directed the parties to confer, and then to bring any issues (i.e., those

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         currently before Your Honor) to Special Master Vanaskie. Judge Kugler added: “I’m
         not going to speak for Judge Vanaskie, but color me skeptical of all this, which I think
         a lot of it is a bunch of nonsense.” Id. at 27.

     •   May 31, 2023 – CMO No. 32 deadline for Wholesalers’ production of (i) costs and
         profits, (ii) prices paid for VCDs, and (iii) prices at which Wholesalers sold VCDs.
         See ECF No. 2343. Also, the deadline to schedule targeted custodial discovery of
         Wholesalers. Id. To date, Wholesalers have yet to produce any data on costs and
         profits, or custodial discovery, despite not seeking an extension of the CMO No. 32
         deadline.

     •   June 13, 2023 – Wholesalers file their letter brief at issue here. See ECF No. 2427.

  The above makes clear that Wholesalers knew from the beginning what claims were at issue,
  including unjust enrichment. See, e.g., 7/6/2020 CMC Tr. at 65 (Wholesaler Counsel stating: “And
  if there is one thing that plaintiffs have done, it is that they have invoked every other possible type
  of relief available, both in tort, and then the UCC damages too.”); see also, e.g., 6/16/2020
  Wholesaler Ltr. (ECF No. 478) (extensively arguing against Wholesalers’ production of discovery
  relevant to Plaintiffs’ unjust enrichment claims).

  V.    The Specific Wholesaler Belated Requests – Plaintiffs Have Agreed to Much of the
  Requests, and What Remains is Overly Burdensome, Overly Broad, Irrelevant, and
  Disproportionate

         A.      Request Nos. 1-4

  MSP and MADA previously indicated a willingness to produce the transactional claims datapoints
  sought by Request Nos. 1-2, to the extent not previously produced and to the extent it exists. They
  agree to respond to Request Nos. 1-2 as worded by Wholesalers. Thus, there is no dispute as to
  Requests No. 1-2.

  That leaves Request Nos. 3-4, which seek “[a]ny and all documents” which in anyway “relate” to
  the voluminous transactional claims data MSP and MADA has produced or will produce. It is
  entirely unclear what additional information Wholesalers are fishing for, when both MSP and
  MADA have produced, or will produce, all the transactional claims data requested. Demanding,
  on top of that, “any and all documents” about every single transactional claim it is unduly
  burdensome, unreasonably cumulative, overly broad, and disproportionate to the needs of the case.
  Wholesalers have made absolutely no showing why they should be entitled to this additional
  information generally, let alone years after the discovery deadline. Moreover, years ago, when
  Plaintiffs initially sought “all documents” from Defendants (including from Wholesalers),
  Defendants balked, and Magistrate Judge Schneider directed Plaintiffs to hone their requests.
  Plaintiffs dutifully did so, as illustrated by the very targeted or sufficient-to-show requests to
  Wholesalers which Magistrate Judge Schneider ultimately entered. See, e.g., 7/10/2020 Order
  (ECF No. 509) at Ex. B. Given that Wholesalers fail to “describe with reasonable particularity
  each item or category of items” sought Fed. R. Civ. P. 34(b)(1)(A), Wholesalers’ untimely “any
  and all documents” requests, Nos. 3-4, should be disallowed.


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         B.      Request No. 5-6

  Request No. 5 seeks 173 different transactional datapoints in MSP’s and MADA’s claims data.
  MSP and MADA already agreed to produce 5(a)-(b), 5(g)-(n), and 5(p) to the extent the data
  exists, if not already produced.4 They now agree to produce the sub-parts 5(c)-(f) and 5(o) to the
  extent the data exists.

  As for 5(q), MSP already produced reimbursement and rebate data when responding to the
  Manufacturers’ more recent requests and after extensive briefing and argument by this Court.5 The
  Wholesaler Defendants were copied on those productions, making this request duplicative and
  cumulative with respect to MSP. As for MADA, it will produce any such data that is in their
  possession, custody, or control.

  Finally, Request 6 seeks “any and all supporting contemporaneous records from each Assignor(s)
  that support each Claim.” That overly broad request is clearly improper, and Plaintiffs incorporate
  their response to Requests 3 and 4 supra.

         C.      Request Nos. 7-9

  Request No. 7 seeks “any and all documents” that “relate” to any contract MSP’s at-issue assignors
  or MADA may have with Wholesalers about any subject-matter. MSP and MADA proposed
  narrowing this request to contracts that might exist that may relate to VCDs. This should be more
  than sufficient. Indeed, this is exactly what Wholesalers themselves produced. Each of them, for
  example, only produced “Supply/Distribution Agreements relating to your purchase of VCDs,”

  3 The wholesalers withdrew datapoints 5(r)-(t) in their letter motion. ECF No. 2426 n.10.
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    Plaintiffs disagree with Wholesalers’ accusations that their prior data productions did not include
  various datapoints. For instance, contrary to Wholesalers’ assertions, MADA has already
  produced the group plan IDs and the amounts paid to any non-Wholesaler on the Claim. See
  MADA000901 (columns B and AG). Similarly, MSP has produced insurance carrier IDs, member
  IDs, and amount paid to any non-Wholesaler on the Claim. See MSP0005945 (columns C, E, and
  X). See, e.g., In re Haney, 238 B.R. 430, 431–32 (Bankr. E.D. Ark. 1999) (“[T]he subject of a
  discovery request may not be compelled to repeat its answers to discovery requests.”). But this is
  neither here nor there given MSP’s and MADA’s agreeing to produce responsive data to the extent
  it exists and is not already produced.
  5 The parties filed six letters (ECF Nos. 2167, 2168, 2183, 2184, 2376, 2377), briefed a motion to

  compel (ECF No. 2170, 2185, 2382), the Court issued an opinion and scheduling order on these
  issues (ECF Nos. 2249, 2343, 2368), Manufacturer Defendants filed a motion for sanctions (ECF
  No. 2378) which they later withdrew (ECF No. 2380), and the parties submitted a final letter on
  May 25, 2023 informing the Court they had reached agreement and the issues had been resolved
  (ECF No. 2409) by virtue of MSP’s production of multiple Excel spreadsheets with tens of
  thousands of entries on subsidies, reimbursements, and rebates. See e.g., MSP0005926-
  MSP0005933; MSP0005942-MSP0005944.


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  see ECF No. 1306 at Ex. A, or “final written indemnification agreements applicable to any claims
  currently pending in MDL 2875 against Wholesaler Defendants,” see ECF No. 509 at Ex. B. They
  never produced “any and all documents” about contracts, or all contracts about subject-matters
  unrelated to VCDs or the issues in this litigation.

  Request No. 8 seeks “any and all documents” that “relate” to the foregoing contracts. This should
  be disallowed for the same reasons as Request Nos. 3-4, and 6.

  Request No. 9 seeks “any and all documents” about “any and all communications” between the
  TPPs and Wholesalers. As an initial matter, to the extent those communications exist, the
  Wholesalers would naturally also be in possession of those documents. There is no need for the
  Plaintiffs to assume the costs and burden of production. In re Non-Party Subpoena to Ctr. for Study
  of Soc. Pol’y, 2023 WL 2467738, at *2 (D.D.C. 2023) (“Factors courts consider in determining
  whether there is an undue burden include: . . . . whether the discovery sought can be obtained from
  some other source that is more convenient, less burdensome, or less expensive . . . .”); Kowalski v.
  Stewart, 220 F.R.D. 599, 602 (D. Ariz. 2004) (“Since Plaintiff has failed to explain why he needs
  documents he already has in his possession, the Court will not require Defendant [] to produce
  these documents.”).

  Further, even if Wholesalers were not already in possession of those documents, there simply is
  no basis for such a broad and expansive document request, which is not limited to VCDs in any
  way. Wholesalers cite to three cases for the supposed proposition that “dealings between the
  parties are a fundamental subject of discovery regardless of the cause of action.” ECF No. 2426 at
  10. But those cases say nothing of the sort. Rather in those cases, there was a specific reason to
  consider the parties’ dealings.6 There is no such reason over here.

  Defendants further claim they need the communications to show “the nature and the extent of the
  dealings,” the “benefits provided to the wholesalers,” the “directness” of the relationships, TPP
  Class Representatives’ “expectations,” and “equities” between MSP and MADA and Wholesalers.
  But none of that has any bearing on Plaintiffs’ unjust enrichment claims, which as more fully
  discussed infra considers the following elements: “(1) at plaintiff’s expense (2) defendant received
  benefit (3) under circumstances that would make it unjust for defendant to retain benefit without


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    In Lama and Ho, the court found prior communications between the parties relevant because the
  plaintiff made specific allegations regarding the prior relationship between the parties in the
  complaint. Molinos Valle Del Cibao v. Lama, 2008 WL 3850807, at *3 (S.D. Fla. 2008); Ho v.
  Marathon Pat. Grp., Inc., 2021 WL 10862800, at *6 (C.D. Cal. 2021). Here, Plaintiffs make no
  specific allegations in the Amended Complaint regarding the prior relationship between the TPPs
  and Wholesalers and, therefore, the Wholesalers’ request for all “inter-company communications”
  is not relevant. Additionally, in Intarome, the court granted defendant’s motion to compel plaintiff
  to produce all communications between the parties but noted that plaintiff never raised any
  opposition to the information requested in defendant’s subpoena. Intarome Fragrance & Flavor,
  Corp. v. Zarkades, 2008 WL 4449629, at *2 (D.N.J. 2008). That is not the case here, where the
  TPPs have objected to the Wholesalers’ overbroad request for all inter-company communications
  between the TPPs and Wholesalers.


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  paying for it.” Katz v. Ambit Ne., LLC, 2020 WL 5542780, at *3 (D.N.J. 2020) (internal citations
  and quotations omitted).

  At bottom, MSP and MADA reasonably agreed to produce any contracts or agreements with
  Wholesalers relating to VCDs. There is no need for anything more, especially absent any showing
  by Wholesalers to overcome MSP’s and MADA’s legitimate objections of untimeliness, relevance,
  burden, overbreadth, and proportionality.

          D.      Request No. 10

  MSP already produced the assignments for the three at-issue assignors, Emblem, ConnectiCare,
  and SummaCare. MSP’s and its assignors’ corporate representatives were deposed pursuant to
  notices that specifically include a topic about the assignments. Defendants asked questions about
  the assignments. Wholesalers attended the depositions. Not a single defendant has raised any
  issue whatsoever about the assignments for years.

  Until now, nearly two years after the close of fact discovery, Request No. 10 seeks “any and all
  communications between [MSP] and the party making the assignment reflecting the negotiation
  of the assignment.” Defendants claim they need that documentation on the notion that MSP isn’t
  a TPP and that “courts have recognized that it is appropriate for defendants to obtain discovery to
  fully understand the nature of MSP’s business.” ECF No. 2426 at 11. But whether MSP is a TPP
  or an assignee of a TPP is simply irrelevant,7 and none of the cases Defendants cite support the
  broad fishing expedition on which Defendants seek to embark. Sanofi and Mallinckrodt dealt with
  a relatively mundane issue of whether certain documents were in MSP’s possession, custody, or
  control—which is not at issue here. The opinions say nothing about permitting discovery into the
  “nature of MSP’s business.”

  Defendants next argue that they need the additional discovery to gain “insight with regard to the
  actual scope of the assignments,” “whether Wholesalers were ever discussed as a potential
  defendant,” and “the inner workings of MSP”—but all that does is confirm that Defendants seek
  to embark on an impermissible fishing expedition. Fethkenher v. Kroger Co., 139 S.W.3d 24, 30
  (Tex. App. 2004) (“Discovery may not be used as a fishing expedition or to impose unreasonable
  expenses on the opposing party”); Mailhoit v. Home Depot U.S.A., Inc., 285 F.R.D. 566, 572 (C.D.
  Cal. 2012) (“[The] discovery rules do not allow a requesting party ‘to engage in the proverbial
  fishing expedition, in the hope that there might be something of relevance . . . .’”) (internal citations
  omitted). One need not pry into the inner workings of MSP to ascertain the scope of the
  assignment. All one needs to do is read the assignments—which MSP has already produced.
  Wholesalers and the other Defendants have had ample opportunity to probe the assignments—and
  in fact Defendants did probe the assignments in discovery—but unearthed nothing. Wholesalers
  do not get a mulligan.




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   Further, the Court already rejected those arguments when it found MSPRC a typical and
  adequate class representative (ECF No. 2261 at 38-39), despite Defendants’ arguments to the
  contrary (ECF No. 2010 at 21-22).

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  Further, aside from being requested out of time and being completely irrelevant, documents
  reflecting MSP’s negotiations with the assignors regarding purchasing their claims is plainly
  highly confidential and proprietary information. Wholesalers have not (and cannot) meet their
  burden to show that they would be entitled to such information.                    See e.g., In re
  Bridgestone/Firestone, Inc., 106 S.W.3d 730, 732 (Tex. 2003) (discussing trade secrets, “for the
  plaintiffs to obtain discovery they were required to establish that the information was necessary or
  essential to the fair adjudication of the case, weighing the requesting party’s need for the
  information against the potential of harm to the resisting party from disclosure.”); Fethkenher v.
  Kroger Co., 139 S.W.3d 24, 29–30 (Tex. App. 2004) (“Although the scope of discovery is broad,
  it is limited by the legitimate interests of the opposing party to avoid overly broad requests,
  harassment, or disclosure of privileged information.”); Lightsey v. Potter, 2006 WL 2938715, at
  *2 (N.D. Ga. 2006) (“A court may limit discovery where a party seeks confidential information.”)
  (internal citations omitted); Eagle Indus., Inc. v. Ransburg Corp., 124 F.R.D. 197 (S.D. Ind. 1989)
  (Plaintiffs were not entitled to discovery of confidential information because the information
  sought was neither relevant nor necessary to proof of plaintiff’s claims, and was not reasonably
  calculated to lead to the discovery of admissible evidence.).

  Finally, despite Wholesalers’ asserting more than 10 times in their Letter that all they seek is
  “narrow” discovery related to the unjust enrichment theory only, they fail to make any showing as
  to how the assignments have anything to do with unjust enrichment. The Court should deny this
  untimely, overly broad, burdensome, irrelevant, and disproportionate request.

         E.      Request Nos. 11-16

  These requests seek “any and all documents” that relate to MSP’s and MADA’s unjust enrichment
  claims against Wholesalers, including the “benefit you allege each Wholesaler Defendant(s)
  received,” “the portion of each specific benefit that [is unjust],” how Wholesalers “misled” TPPs,
  and “any wrongdoing [or] improper conduct” by Wholesalers that “directly or indirectly caused
  damage to you.” See Request Nos. 11-16.

  As an initial matter, MSP and MADA already produced (i) documents called for by the TPP PFS
  and other (timely) requests propounded upon them, (ii) transactional claims data, and (iii) expert
  reports detailing the damages theory against Wholesalers and calculating MSP’s and MADA’s
  (and the TPP subclasses’) damages. In other words, they have produced all of the information on
  which they intend to rely to prove the liability and damages aspects of their unjust enrichment
  claims against Wholesalers. Lest there was any doubt, MSP and MADA agreed to produce other
  documents, if any, on which they may rely to prove their unjust enrichment claims.

  Wholesalers rejected Plaintiffs’ offer. But they have not explained why Plaintiffs’ offer is
  insufficient. If Wholesalers’ point here is they want to know what MSP and MADA intend to
  show the jury to prove liability, and what they intend to use to calculate damages, then Wholesalers
  already have all of that; and if they do not, MSP and MADA already agreed to produce it.

  Wholesalers do not explain why this is not enough, or what else they expect to exist. For all of
  these requests, Wholesalers’ letter merely states MSP and MADA “either have the factual evidence
  to prove their case or they do not.” ECF No. 2426. If MSP and MADA already produced (or will


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  produce) the evidence “to prove their case,” then there is no dispute here and nothing for the Court
  to do.

  Further, these “any and all documents” requests should be disallowed as untimely, overly broad,
  burdensome, unreasonably cumulative, and disproportionate for the same reasons as Request Nos.
  3-4, and 6.

         F.      Request Nos. 17-21

  These requests seek “any and all documents” which “relate” to MSP’s and MADA’s damages,
  including documents about the “type of damages sought,” from whom they seek damages, and the
  “methodology used to calculate damages.” As noted supra, MSP and MADA already produced
  (i) documents called for by the TPP PFS and other (timely) requested propounded upon them, (ii)
  transactional claims data, and (iii) expert reports detailing the damages theory against Wholesalers
  and calculating MSP’s and MADA’s (and the TPP subclasses’) damages. MSP and MADA asked
  for more detail about what Wholesalers really sought here. They received no real answer. Despite
  no actual explanation from Wholesalers themselves, MSP and MADA nevertheless offered to
  produce other documents, if any, they may rely on at trial. Wholesalers rebuffed this.

  These requests should be disallowed for being untimely, burdensome, overbroad, and
  disproportionate for the same reasons as Request Nos. 3-4, and 6.

  Wholesalers’ professed need “to discovery of these fundamental damages calculations,” see ECF
  No. 2426 at 10, falls flat. As noted above, MSP and MADA already produced expert reports
  explaining their damages theory and estimating their (and the TPP subclasses’) damages. They
  also produced all of the transactional data on which those calculations relied. They have since
  produced even more data regarding subsidies, rebates, and the like. They even already produced
  costs for replacement drugs in place of recalled VCDs, which is something Wholesalers wrongly
  claim they need (see ECF No. 2426 at 10); they have it already.

  Finally, the cases Wholesalers’ cite simply stand for unremarkable propositions about general
  damages-related discovery. They are inapposite here, where MSP and MADA already produced
  all the fact and expert discovery pertinent to their damages during the discovery periods, which
  are now closed. Defendants already deposed MSP, MSP’s at-issue assignors, MADA, MADA’s
  claims administrator, and their damages expert Dr. Rena Conti.

         G.      Request Nos. 22-27

  These additional “any and all documents” requests breathtakingly seek all documents about “the
  value” or “therapeutic benefit” VCDs provided to MSP’s and MADA’s insureds, the “safety of
  VCDs, the efficacy of VCDs…,” “how VCDs should be included on the formulary,” and perhaps
  the most overreaching, all “underlying medical records” for Plaintiffs’ insureds who ingested
  VCDs.

  The “value” or “therapeutic benefit” of VCDs has been litigated ad nauseum in this litigation for
  years during the fact and expert discovery periods. There is no need for this Court to revisit the


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  matter now, years after the close of fact and expert discovery. In short, Judge Kugler ruled as
  follows years ago: “This Court finds that contaminated drugs are economically worthless at the
  point of sale by virtue of the dangerousness caused by their contamination, regardless whether the
  sold VCDs actually achieved the medical purpose of lowering blood pressure. Put differently,
  contaminated drugs, even if medically efficacious for their purpose, cannot create a benefit of the
  bargain because the contaminants, and their dangerous effects, were never bargained for.” 1/22/21
  Order (ECF No. 775) at 20. In certifying the subclasses, Judge Kugler found Dr. Conti’s damages
  model of economic worthlessness, which does not depend on level of “value” or “therapeutic
  benefit,” sufficient reliable. See ECF No. 2261 at 88-89.

  Moreover, “value” or “therapeutic benefit” are irrelevant when TPPs’ unjust enrichment claims
  turn on Wholesalers’ conduct, as discussed supra Part IV.C. To the extent Wholesalers seek
  information about MSP’s and MADA’s formularies and Pharmacy & Therapeutics Committee
  meeting minutes about qualifying the VCDs for formulary placement, MSP and MADA already
  produced those documents. On top of that, MSP has already produced subsidies, rebate, and other
  data.

  Finally, these requests should be disallowed for the same reasons as Request Nos. 3-4, and 6. That
  is, these requests are untimely, overly broad, unduly burdensome, irrelevant, and disproportionate.
  This is especially so for Wholesalers’ outlandish request for all “medical records” about the TPP
  Plaintiffs’ insureds.

         H.      Request No. 28

  This request seeks MSP’s and MADA’s own “gross revenue, expenses and/or costs, and net
  profits” for an “unclean hands defense.” Judge Kugler repeatedly inquired at the April 26, 2023
  CMC why any of this was remotely relevant given that unjust enrichment focuses on the
  Defendants’ conduct. Further, this request is illogical because neither MSP nor MADA are sellers
  of a VCD distribution chain, so they never “profit” off a sale of VCDs. This is doubly so for
  MADA, which does not make a profit as a health plan because it is a non-profit multi-employer
  welfare arrangement (“MEWA”) pursuant to 24-A M.S.R.A. Chapter 81.

  Procedurally, it bears noting that Wholesalers have never pleaded any actual affirmative defense
  in this action, let alone unclean hands. As such, discovery relating to an unpled affirmative defense
  would be premature because Plaintiff have never had an opportunity to contest the legal sufficiency
  of such a defense. But more pointedly, Wholesalers do not provide any basis in fact or law why
  an unclean hands defense might lie in the circumstances here. Their smattering of cases stand for
  completely different propositions involving entirely different factual circumstances. It also goes
  without saying that MSP’s, its assignors’, and MADA’s financials are highly commercially
  sensitive, confidential, and burdensome to produce—especially at this late stage of the litigation,
  years after the close of fact and expert discovery.

  Finally, a TPP plaintiff’s own profits or losses are irrelevant to whether a defendant has been
  unjustly enriched. Courts consistently make the distinction that “[b]ecause the doctrine of unjust
  enrichment is grounded in restitution, the measure of damages for an unjust enrichment claim is
  based on the amount of benefit retained by the defendant, rather than by a plaintiff's loss.” Swan


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  Media Grp., Inc. v. Staub, 841 F. Supp. 2d 804, 809–10 (S.D.N.Y. 2012) (citing 3 D. Dobbs, Law
  of Remedies § 12.1(1), at 9); see also Ellis v. Allstate Ins. Co., 479 F. Supp. 2d 782, 788 (N.D. Ill.
  2006) (“Damages in unjust enrichment cases are measured by the defendant’s gains, not plaintiff's
  losses.”); Spin Master, Ltd. v. Zobmondo Ent., LLC, No. CV063459ABCPLAX, 2011 WL
  13127211, at *3 (C.D. Cal. Oct. 13, 2011) (“[D]isgorgement of an infringing defendant’s profits
  based on a theory of unjust enrichment is not concerned with approximating a plaintiff’s losses,
  but with divesting the defendant of gains resulting from infringement.”); Miller v. Bank of Am.,
  N.A., 352 P.3d 1162, 1169 (N.M. 2015) (“Damages for unjust enrichment differ from
  compensatory damages in that ‘[t]he measure [and limit] of compensatory damages is the
  plaintiff’s loss or injury, while the measure of restitution is the defendant’s gain or benefit.’”);
  Cohan v. Minicozzi, No. NNHCV156052856, 2016 WL 5798900, at *3 (Conn. Super. Ct. Sept. 2,
  2016) (“[A] plaintiff’s recovery for unjust enrichment is based, not on plaintiff’s loss, but
  defendant’s gain”). Accordingly, TPP Plaintiffs’ profits are not related to the parties’ claims or
  defenses and are therefore outside the scope of permissible discovery.

  The Court should summarily disallow this request.

  VI.     Conclusion

  For the foregoing reasons, the Court should deny Wholesalers’ belated and otherwise objectionable
  requests to MSP and MADA and enter Plaintiffs’ proposed compromise requests that they have
  agreed to answer.




                                         Respectfully,



                                         ADAM M. SLATER

  Encl.

  cc:     All Counsel (via ECF)




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